
ORDER
PER CURIAM.
Sandi J. Weatherford appeals from the final decision of the United States Court of Appeals for Veterans Claims (“Veterans Court”) affirming a May 6, 2005, decision by the Board of Veterans’ Appeals, which denied Ms. Weatherford’s claim for entitlement to compensation under 38 U.S.C. *325§ 1151 for a disability incurred during Ms. Weatherford’s stay at a Department of Veterans Affairs hospital in February of 1979. On appeal to this court, Ms. Weath-erford asserts that the facts of her case entitle her to the compensation she seeks.
I
The jurisdiction of this court over final decisions of the Veterans Court is limited. When Congress created the Veterans Court, it clearly defined the role of this court as essentially limited to deciding issues concerning the interpretation of the laws governing veterans benefits. Thus, this court may review the validity of “a rule of law or of any statute or regulation ... or any interpretation thereof ... that was relied on by the [Veterans Court] in making the decision.” 38 U.S.C. § 7292(a) (2000). Unless an appeal to this court presents a constitutional issue, and Ms. Weatherford’s appeal does not, the court “may not review (A) a challenge to a factual determination, or (B) a challenge to a law or regulation as applied to the facts of a particular case.” 38 U.S.C. § 7292(d)(2) (2000).
II
Ms. Weatherford disagrees with the factual determinations of the Veterans Court and with the application of the law to the facts of her case. As such, she does not present an issue over which this court has jurisdiction. Her appeal must be dismissed. Accordingly, the court,
ORDERS THAT:
1. This appeal is dismissed.
2. ■ Each side shall bear its own costs.
